                   Case 2:19-cr-00368-PD Document 278 Filed 09/09/21 Page 1 of 3




From:                              Newton, KT (USAPAE) <KT.Newton@usdoj.gov>
Sent:                              Wednesday, September 8, 2021 11:45 AM
To:                                Lenora Wittje
Cc:                                Ryan Miller; zeiger_levinzeiger.com
Subject:                           RE: Activity in Case 2:19-cr-00368-PD USA v. TANTUSHYAN et al Motion for Warrant



CAUTION - EXTERNAL:


Lenora,
        The government opposes defendant’s motion. At a minimum, defendant Daldumyan needs to self-surrender to
the Marshal’s Office. I am also, frankly, having difficulty believing that the defendant was confused as to the date and
time for the hearing and could not contact his counsel.

KT

K.T. Newton
Assistant United States Attorney
United States Attorney’s Office for the Eastern District of Pennsylvania
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106-4476
Office: 215.861.8329
Cell: 215.764.2230

From: Lenora Wittje <Lenora_Kashner_Wittje@paed.uscourts.gov>
Sent: Wednesday, September 8, 2021 8:55 AM
To: Newton, KT (USAPAE) <KNewton@usa.doj.gov>
Cc: Ryan Miller <RMiller@paed.uscourts.gov>; zeiger_levinzeiger.com <zeiger@levinzeiger.com>
Subject: FW: Activity in Case 2:19-cr-00368-PD USA v. TANTUSHYAN et al Motion for Warrant

K.T.:

What is your position as to defendant’s motion?
The bench warrant was issued late yesterday. It has not yet appeared on the docket.

Thank you.

Lenora Kashner Wittje
Courtroom Deputy to the Honorable Paul S. Diamond
267-299-7739
United States District Court
U.S. Courthouse
601 Market Street
Philadelphia, PA 19106




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From: ecf_paed@paed.uscourts.gov <ecf_paed@paed.uscourts.gov>
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                                               United States District Court

                                             Eastern District of Pennsylvania

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The following transaction was entered by ZEIGER, BRIAN on 9/8/2021 at 8:31 AM EDT and filed on 9/8/2021
Case Name:          USA v. TANTUSHYAN et al
Case Number:        2:19-cr-00368-PD
Filer:              Dft No. 5 - DAVIT DALDUMYAN
Document Number: 270

Docket Text:
First MOTION for Bench Warrant Warrant LIFT by DAVIT DALDUMYAN. (ZEIGER, BRIAN)


2:19-cr-00368-PD-5 Notice has been electronically mailed to:

ALEX R. KESSEL    kessellawfirm@gmail.com

ARNOLD C. JOSEPH      joseph@josephandassoc.com

BARNABY C. WITTELS      barnabyw@aol.com

BRIAN J. ZEIGER zeiger@levinzeiger.com, amanda@levinzeiger.com, dominique@levinzeiger.com,
jenny@levinzeiger.com, kimberly@levinzeiger.com

DAVID JAY GLASSMAN       davidjayglassman@gmail.com, glendaglassman@comcast.net

ELLEN C. BROTMAN       ebrotman@ellenbrotmanlaw.com

                                                             2
                  Case 2:19-cr-00368-PD Document 278 Filed 09/09/21 Page 3 of 3
GEORGE G. MGDESYAN         george@mgdesyanlaw.com, tatiana@mgdesyanlaw.com

GEORGE GARY BESNILIAN       gbesnilian@nazbeslaw.com, info@nazbeslaw.com

JORDAN JAHAIRE FREEMAN        JfreemanDefense@gmail.com

K. T. NEWTON kt.newton@usdoj.gov, CaseView.ECF@usdoj.gov, michele.mucellin@usdoj.gov,
michelle.morgan2@usdoj.gov, sharon.jones@usdoj.gov

LAWRENCE J. BOZZELLI     lbozz@hotmail.com, bozzelli.law@gmail.com

MICHAEL T. VANDERVEEN mtv@mtvlaw.com, ddevlin@mtvlaw.com, frontoffice@mtvlaw.com,
madams@mtvlaw.com, ngreen@mtvlaw.com

PAUL J. HETZNECKER     phetznecker@aol.com, talio3@aol.com

RICHARD J. FUSCHINO , JR     rjf@fuschinolaw.com

THOMAS O. FITZPATRICK tom@minceyfitzross.com, admin@minceyfitzross.com, cristina@minceyfitzross.com,
kevin@minceyfitzross.com, marquita@minceyfitzross.com

2:19-cr-00368-PD-5 Notice will not be electronically mailed to:

HAMLET TANTUSHYAN
#78178-112
FDC-PHILADELPHIA
PO BOX 562
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The following document(s) are associated with this transaction:

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Original filename:n/a
Electronic document Stamp:
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] [8affa65a99ed7504916683b63a1c2af7d0d1f712db42858ded4504987811bb56944
c3449aed0cc9a1baf8a16f247d6d6c7952b239c7ce61f22c2f3fa4758b9b1]]

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